             Case MDL No. 3121 Document 1-2 Filed 05/20/24 Page 1 of 2




                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION



Allegiance Health Management, Inc., et al.,              MDL No.
individually and on behalf of all other similarly
situated,

                Plaintiffs,

       vs.

MultiPlan, Inc., et al.

                Defendants.



                              SCHEDULE OF RELATED ACTIONS

 Ex.                   Case Caption             Court      Case No.           Judge
  A     Plaintiff: Adventist Health System Southern      1:23-cv-07031   Edgardo Ramos
        Sunbelt Healthcare Corporation     District of
       v.                                 New York.
        Defendant: MultiPlan Inc

  B.    Plaintiff: CHS Community Health Southern         1:24-cv-03544   Edgardo Ramos
        Systems, Inc.                   District of
        v.                              New York
       Defendant: Multiplan, Inc;

  C.    Plaintiff: Allegiance Health      Northern       1:24-cv-03223   Martha M. Pacold
        Management, Inc                   District of
        v.                                 Illinois
       Defendants: Multiplan Inc; Health
       Care Service Corporation; Aetna,
       Inc; Elevance Health, Inc; Centene
       Corporation; Cigna Group; United
       Health Group, Inc.; Humana, Inc.;
       and Kaiser Permanente LLC




                                               1
           Case MDL No. 3121 Document 1-2 Filed 05/20/24 Page 2 of 2




  Ex.                 Case Caption            Court         Case No.             Judge
   D.   Plaintiff: Live Well Chiropractic Northern       1:24-cv-03680       Andrea R. Wood
        PLLC                              District of
        v.                                 Illinois
        Defendants: Multiplan, Inc;
        Multiplan Corp; Viant Inc; Viant
        Payment Systems, Inc; National
        Care Network LP; National Care
        Network, LLC; United Health
        Group, Inc; Aetna, Inc; Elevance
        Health, Inc; Centene Corporation;
        Cigna Group; Health Care Service
        Corp.; Humana Inc;
        Kaiser Permanente LLC; Blue
        Shield of California, Inc; Blue
        Cross Blue Shield of Michigan
        Mutual Insurance Co. and Health
        Alliance Medical Plans, Inc.
   E.   Plaintiffs: Ivy Creek of          Northern       1:24-cv-03900       Sunil R. Harjani
        Tallapoosa, LLC and Elmore        District of
        Community Hospital Rural Health Illinois
        Association
        v.
        Defendant: Multiplan,Inc
   F.   Plaintiffs: Curtis Robinson MD,   Northern       3:24-cv-02993
        Inc d/b/a Panoramic Medicine      District of
        v.                                California
        Defendants: Multiplan, Inc; Aetna
        Inc; The Cigna Group; United
        Health Group Inc.

Dated: May 20, 2024                         Respectfully submitted,

                                             /s/___Warren T. Burns_______________
                                             Warren T. Burns
                                             BURNS CHAREST LLP
                                             900 Jackson Street, Suite 500
                                             Dallas, Texas 75202
                                             Tel.: (469) 458-9890




                                              2
